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 3   (510) 547-8070
 4   Attorney for Plaintiff Class
     Member/Objector David Brennan
 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                 SAN JOSE DIVISION
10    In re:                                 )   Class Action
                                             )
11    PALM TREO 600 and 650                  )   No. 05-03774 RMW
      LITIGATION                             )
12                                           )   RESPONSE TO CLASS COUNSEL'S STATUS
                                             )   REPORT (Dkt. 130) AND OBJECTION TO
13                                           )   CLASS COUNSEL'S PENDING REQUEST FOR
                                             )   ATTORNEYS' FEES (Dkts. 101, 103, 109)
14                                           )
                                                  Complaint Filed: Sept. 19, 2005
15
                                                  Trial Date: None Set
16

17          Plaintiff Class Member/Objector David Brennan has reviewed
18   the submission of Class Counsel (Dkt. 130) and believes that
19   the facts contained therein support Objector's original
20   Objection (Dkt. 81) that this Court not award attorneys' fees
21   until it determines the benefits actually received by class
22   members.       Now that that information is before the Court, it is
23   clear that Class Counsel's request for $1,554,000 in attorneys'
24   fees is simply unjustified for the meager benefits received by
25   the class of 2.7 million persons.
26          The Status Report (Dkt. 130) demonstrates that out of a
27   class of 2.7 million persons, only 2,736 class members will be
28




     _______________________________________________________________________________________________
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 1   receiving any known benefit from this class action.                            A shocking
 2   1/10th of 1 percent of the class!
 3          Class Counsel are asking $1.5 million in attorneys' fees
 4   and expenses (Dkts. 101, 103, 109) for obtaining $277,252 for
 5   the class.        It works out as follows:
 6                  873 class members seeking repairs for
                    their Smartphones at $199 =                                 $173,727.00
 7

 8                  415 class members getting a
                    $75 rebate =                                                   31,125.00
 9
                    1,448 class members getting a
10                  $50 rebate =                                                  72,400.00
                                                                                ____________
11

12                                        Total:                                $277,252.00

13   The fee that Class Counsel are seeking would give them 85% of

14   the total recovery in the case, which is unconscionable.

15          Objector requests that Class Counsel's fee be reduced to a

16   reasonable percentage of the class's recovery of $277,252, or

17   approximately $100,000 to $135,000, and that the remaining

18   $1.4 million be provided as cy pres relief to benefit class

19   members.       Class action case law supports this request.

20          Numerous courts, both state and federal, academic

21   commentators, and the United States Congress have endorsed the

22   approach of calculating the final award of attorneys' fees

23   after the number of class members who actually utilize

24   settlement benefits is known and considered.

25                  By conditioning the award of attorney's fees upon the
                    claims actually submitted, the Court of Chancery
26                  exercised its discretion equitably, to correlate the
                    attorneys' compensation with the structure of the
27
                    settlement benefits the attorney had negotiated for
28                  the class.



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 1   Goodrich v. E.F. Hutton Group, Inc. (Del. Supr.), 681 A.2d 1039
     (1996), at 1049) (emphasis added).
 2

 3                  Staging the fee award in this manner will ... help
                    ensure that the fee award is proportionate to the
 4                  actual value created for the class ... [and] will
                    emphasize the principle that in class actions the
 5                  interests of counsel who negotiate settlements should
                    align with the interests of the class.
 6

 7   Duhaime v. John Hancock Mut. Life Ins. Co., 989 F. Supp. 375,
     380 (D. Mass. 1997) (emphasis added).
 8
                    [O]ne should nevertheless ask whether a rule of law
 9                  that would hold that there is an entitlement, on the
                    part of class counsel, to a legal fee fixed in
10
                    relation to a maximum available fund rather than
11                  benefits actually realized by class members, would be
                    a desirable general rule.... In my opinion, the
12                  answer is certainly no.
13   Wise v. Popoff, 835 F. Supp. 977, 981 (E.D. Mich. 1993)
     (emphasis added).
14

15                  [The language in the PSLRA] is intended to prevent
                    the payment of attorney's fees based on an inflated
16                  settlement figure, where a large part of the
                    settlement is later returned to the coffers of the
17                  settling defendant because of a low number of claims.
                    Before awarding fees, therefore, the Court must
18
                    determine what portion of the settlement fund will
19                  actually be paid to plaintiffs.

20   Lyons v. Scitex Corp., 987 F. Supp. 271, 279 (S.D.N.Y. 1997)
     (emphasis added).
21
                    I am not confident of the redemption rate that has
22
                    been projected and thus of the settlement's total
23                  value. Therefore I have determined to delay [the]
                    award of attorney fees until experience shows how
24                  many vouchers are exercised and thus how valuable the
                    settlement really is.
25

26
     In re Compact Disc Minimum Advertised Price Antitrust Litig.,
     292 F.Supp.2d 184, 190 (D. Me. 2003) (emphasis added).
27
                    This Court is concerned, however, about the
28                  possibility that the actual value of the settlement
                    may fall significantly short of the estimated value,

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 1                  thus drastically altering the proportionality of the
                    fee award to the benefit actually conferred to class
 2
                    members.
 3
     Bussie v. Allmerica Financial Corp., et al., No. 97-40204-NMG
 4   (D. Mass. May 19, 1999), 1999 U.S. Dist. LEXIS 7793, *7
     (emphasis added).
 5
                    [T]o approve the fee requested provisionally, permit
 6
                    its partial payment immediately, but reserve the
 7                  balance for payment either in full or after any
                    appropriate adjustment in the light of actual
 8                  experience under the settlement.
 9   Id., 1999 U.S. Dist. LEXIS 7793 at *9, citing Hancock Fee
     Decision, 989 F. Supp. at 379 (emphasis added).
10

11                  "The court is of the view that of substantial
                    significance is the value of the benefit actually
12                  received by those on whose behalf the action was
                    allegedly instituted.
13                  ....
                    "The key element in assessing the reasonableness of
14
                    an attorney's fee and any adjustment made in the
15                  amount requested is 'the relationship between the
                    amount of the fee awarded and the results obtained.'"
16
     Clement v. American Honda Finance Corp., 176 F.R.D. 15, 31 (D.
17   Conn. 1997) (citations omitted; emphasis added).
18
                    Thus at this point the extent of the benefit to the
19                  class cannot be determined with any degree of
                    exactitude. It may be that so few will receive
20                  payment (with the unused portion of the settlement
                    fund going back to Greyhound) that the benefits to
21                  the class will be "miniscule"....
                    ....
22
                    Under the circumstances, the fee determination will
23                  be reserved until all claims of shareholders entitled
                    to participate in the settlement have been filed and
24                  determined.
25   Voege v. Ackerman, 67 F.R.D. 432 (S.D.N.Y. 1975), at 436
26
     (footnotes omitted) and 437. See also Bowling v. Pfizer, Inc.,
     922 F. Supp. 1261, 1283-84 (S.D. Ohio), aff'd, 102 F.3d 777
27   (6th Cir. 1996) (holding back large portion of fee award until
     additional "future" benefits to class were actually paid into
28   class fund).


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 1          In Waters v. Int'l Precious Metals Corp., 190 F.3d 1291,
 2   1294 (11th Cir. 1999), cert. denied, 530 U.S. 1223 (2000),
 3   United States Supreme Court Justice Sandra Day O'Connor had the
 4   following remarks about the importance of actual utilization of
 5   class member benefits in setting reasonable attorneys' fees.
 6                  In Boeing v. Van Gemert, 444 U.S. 472 (1980).... We
                    had no occasion ... however, to address whether there
 7
                    must be at least some rational connection between the
 8                  fee award and the amount of the actual distribution
                    to the class. The approval of attorney's fees absent
 9                  any such inquiry could have several troubling
                    consequences. Arrangements such as that at issue
10                  here decouple class counsel's financial incentives
                    from those of the class, increasing the risk that the
11
                    actual distribution will be misallocated between
12                  attorney's fees and the plaintiffs' recovery. They
                    potentially undermine the underlying purposes of
13                  class actions by providing defendants with a powerful
                    means to enticing class counsel to settle lawsuits in
14                  a manner detrimental to the class.... Although I
                    believe this issue warrants the Court's attention,
15
                    this particular case does not present a suitable
16                  opportunity for its resolution.

17   Id., 530 U.S. at 1224-25 (emphasis added).
18          Numerous academic commentators on the class action
19   mechanism support the use of evidence of actual utilization of
20   class member benefits as a factor in setting reasonable
21   attorneys' fees in class actions.
22          Professor Janet Cooper Alexander recommends:
23
                    Tie the lawyers' compensation directly to the
24                  interests of the class.
                    The application, briefing and hearing on the fee
25                  request should not take place until after all claims
                    are filed, and the judge should be required to take
26                  into account the actual benefit conferred on the
                    class (as demonstrated by the claims made)....
27

28   Janet Cooper Alexander, Contingent Fees in Class Actions, 47
     DEPAUL L. REV. 347, 360 (emphasis added).

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 1          Professor Judith Resnick notes:
 2
                    The innovation of the securities fee statute is to
 3                  limit judicial discretion by requiring that fees are
                    a percentage of monies actually received by class
 4                  members, as contrasted to a percentage of a fund
                    established.
 5
     Judith Resnick, Money Matters: Judicial Market Interventions
 6
     Creating Subsidies and Awarding Fees and Costs in Individual
 7   and Aggregate Litigation, 148 UNIV. PA. L. REV. 2119, 2122-23 n.6
     (2000) (underline added; italics in original).
 8
            The RAND Institute for Civil Justice notes:
 9
                    To avoid rewarding class action attorneys for
10
                    dubious accomplishments, judges should award fees
11                  [based upon the benefits] actually disbursed to class
                    members or other beneficiaries of the litigation."
12                  ....
                    An added benefit of linking class action attorneys'
13                  fees to disbursements is that it would give the
                    attorneys an interest in ensuring expeditious and
14
                    effective delivery of compensation to class members.
15
     RAND Institute for Civil Justice, "Achieving the Objectives of
16   Rule 23(b)(3) Class Actions," at 491.
17          Professor John C. Coffee, Jr., in his article Claims Made
18   Settlement:        An Ethical Critique, NEW YORK LAW JOURNAL (July 15,
19   1993), "Corporate Securities," notes:
20                  [L]awyers are fiduciaries to the class they serve,
                    and when the fiduciary is economically indifferent to
21
                    the class's success, a "moral hazard" problem arises.
22                  ....
                    Escrow procedures could be utilized to ensure that
23                  the attorney's return would rise and fall with the
                    class members' recovery in order to keep their
24                  interests reasonably aligned.
25
     Id. at 5 (emphasis added).
26
            Professors Geoffrey P. Miller and Lori Singer note, in
27
     their article Nonpecuniary Class Settlements, 60 LAW                          AND   CONTEMP.
28




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 1   PROBS. 97, Duke Univ. Sch. of Law (Nos. 3 & 4, Summer & Autumn
 2   1997):
 3                  As a final complication, the plaintiffs' attorneys
                    may use the valuation potential of the settlement to
 4
                    shop for high fees among the different jurisdictions
 5                  that can hear the case.... Again, this fee will come
                    at expense of the class's optimal recovery because
 6                  the attorneys' fee should be predicated on the actual
                    value of the fund the class receives.
 7
     Id. at 112 (footnotes omitted).
 8

 9          The importance of proper incentives to class counsel was

10   noted in the Law Review article Class Action Conflicts, 30 U.C.

11   DAVIS L. REV. 805 (1997):

12                  The attorneys' [fee] recovery should be tied to [the
                    recovery] of the class; to the extent the attorneys
13                  hope to prosper in the representation, that reward
                    should be a direct product of what they return to the
14                  class.
                    ....
15
                    [I]t impedes sweetheart deals by ensuring that
16                  attorneys' [fee] recoveries are directly tied to the
                    actual return to the class....
17
     Id. at 829 and 830 (emphasis added).
18
                    See Fed.R.Civ.P. 23(h) advisory committee's note;
19
                    Strong v. Bellsouth Telecomms., Inc., 137 F.3d 844,
20                  853 (5th Cir. 1998) (holding the trial court did not
                    abuse its discretion in considering the actual
21                  results of the settlement). The federal Class Action
                    Fairness Act of 2005 addresses this issue directly by
22                  tying the attorney fee award to "redeemed" coupons.
                    Pub.L.No. 109-002, 119 Stat. 4 (2005).
23

24   Michael Northrup, Restrictions on Class Action Attorney Fee
     Awards, 46 S. Tex. L. Rev. 953 (Summer 1005), at n.83.
25
            The noted federal jurist, the Honorable John F. Grady, in
26
     his article Reasonable Fees:                 A Suggested Value-Based Analysis
27
     for Judges, 184 F.R.D. 131 (1999), states:
28




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 1                  Is the recovery something the client is going to use?
                    A benefit obtained for a client that is unused by the
 2
                    client does not justify a substantial fee.
 3
            Congress has demonstrated an a commitment to this
 4
     principle in the wording of Private Securities Litigation
 5
     Reform Act of 1995 (PSLRA), 15 U.S.C. §§ 77z-1(a)-(3)(B)(v)).
 6
                    Total attorneys' fees and expenses awarded by the
 7                  court to attorneys for the plaintiff class [shall be
                    based upon] the amount of any damages and prejudgment
 8                  interest actually paid to the class.
 9
     Id. at § 77z-1(a)(6) (emphasis added).
10
            See also the proposed Amendment of Senator Patrick Leahy
11
     to the Class Action Fairness Act of 2003.
12
                         Leahy's bill would deal with noncash settlements
13                  — the coupon problem — by tying the part of the fee
                    paid to class counsel to the value of the coupon
14                  settlements actually redeemed.... Leahy's bill is
                    backed by consumer groups because it addresses [a]
15
                    major problem in class actions: worthless coupon
16                  settlements ... said Jackson Williams, legislative
                    counsel to Public Citizen's Congress Watch.
17                       "If the coupon is worthless and no one uses it,
                    the attorney gets no compensation," he said. "It
18                  will force attorneys to fight the meritorious cases
                    harder, which is good for consumers and good for
19
                    business. Honestly, there are some class actions for
20                  trivial harms and they're only brought because of the
                    possibility of a worthless coupon settlement."
21
     Marcia Coyle, Senate Eyes Competing Class Action Bills, THE
22   NATIONAL LAW JOURNAL (May 5, 2003).
23
            Dated:      September 3, 2009
24

25                                                Respectfully submitted,

26
                                                  /s/Lawrence W. Schonbrun
27                                                Lawrence W. Schonbrun
                                                  Attorney for Plaintiff Class
28
                                                  Member/Objector David Brennan


     _______________________________________________________________________________________________
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 1                               CERTIFICATE OF SERVICE
 2          I declare that:
 3
          I am employed in the law firm of Lawrence W. Schonbrun,
 4   whose address is 86 Eucalyptus Road, Berkeley, California 94705.
     I am readily familiar with the business practices of this
 5   office. At the time of transmission I was at least eighteen
     years of age and not a party to this action.
 6
          On September 3, 2009, by electronic transmission via the
 7
     Court's Electronic Case Filing system, I caused to be served a
 8   copy of the following documents:

 9          RESPONSE TO CLASS COUNSEL'S STATUS REPORT (Dkt. 130) AND
            PENDING REQUEST FOR ATTORNEYS' FEES (Dkts. 101, 103, 109)
10
     on interested parties registered for e-filing in the within
11
     action.
12
          In addition, on September 3, 2009, I served a copy of the
13   above document:
14      X         By mail on the below-named parties in said action by
                  placing a true and accurate copy thereof in a sealed
15
                  envelope, with postage thereon fully prepaid, and
16                depositing the same in the United States Mail to the
                  addresses set forth below:
17
      Steven Messino                            J. Martelino Jr., Esq.
18    Vincere Group, CEO                        Stonewall Jackson Professional
      P.O. Box 370825                           Center
19
      Montara, CA 94037                         1520 West Main St., Ste. 201C
20                                              Richmond, VA 23220

21    Daniel S. Brown, Esq.                     Michael G. Kassis
      Daniel Scott Brown Law Offices            318 Ironwood Circle
22    131 Lawnview Circle                       Roseville, CA 95678
      Danville, CA 94526
23

24    Joe Elek                                  Carl Ragel
      1426 Robsheal Dr.                         2143 N. Country Club Road #C
25    San Jose, CA 95125                        Tucson, AZ 85716
26    John S. Wenstrand                         Eleanor Managad
27
      35 Rondo Way                              671 N. Capitol Avenue
      Menlo Park, CA 94025                      San Jose, CA 95133
28



     _____________________________________________________________________________________
     Certificate of Service - No. 05-03774 RMW                                      1
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 1    Hon. Ronald M. White
      Judge, U.S. District Court
 2
      Northern District of
 3    California, San Jose Division
      Courtroom 11, 19th Fl.
 4    280 South First Street
      San Jose, CA 95113
 5    (chambers copy)
 6

 7
          I declare under penalty of perjury that the foregoing is
 8   true and correct.
 9         Executed at Berkeley, California, on September 3, 2009.
10

11                                    /s/Sandra Norris
                                      Sandra Norris
12

13

14

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     _____________________________________________________________________________________
     Certificate of Service - No. 05-03774 RMW                                      2
